Case 1:21-mc-00026-JLS Document1 Filed 05/13/21 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT 5B.
FOR THE WESTERN DISTRICT OF NEW YORK NSS ed

IN RE: IN THE MATTER OF:

$402,302.04 UNITED STATES CURRENCY SEIZED: 3a /- NC . Ao my LS

FROM BANK ON BUFFALO SMALL BUSINESS
CHECKING ACCOUNT NO.1307526278 HELD IN THE
NAME OF CWE ENTERTAINMENT CORP. and

$1,796.35 UNITED STATES CURRENCY SEIZED
FROM BANK ON BUFFALO WOW PERSONAL
CHECKING ACCOUNT NO. 1307737396 HELD IN THE
NAME OF ROBERTO M. SOLIMAN,

 

 

STIPULATION TO EXTEND PLAINTIFF'S TIME
TO FILE COMPLAINT IN CIVIL FORFEITURE ACTION

ITIS HEREBY STIPULATED and agreed upon by and between the United States of
America by its attorney, James P. Kennedy, Jr., United States Attorney for the Western
District of New York, Paul C. Parisi, Assistant United States Attorney, of counsel, and
Rodney O. Personius, Esq., attorney for claimant Roberto Soliman, that pursuant to Title 18,
United States Code, Section 983(a)(3)(A), that the government’s time to file its Verified
Complaint for Forfeiture be extended from May 17, 2021, to August 17, 2021, upon the
Court's approval. |

The parties to this Stipulation further agree that Roberto Soliman may revoke his
consent in writing to extend the time for the government to file its Verified Complaint for
Forfeiture against the above-named property, and in that event, the government shall then
have ten (10) days from the date the government received notice of such action to file its

Verified Complaint for Forfeiture.
Case 1:21-mc-00026-JLS Document 1 Filed 05/13/21 Page 2 of 2

DATED: Buffalo, New York, May , 2021.

JAMES P. KENNEDY, JR.
United States Attorney
Western District of New York

Dated: g) /t XY al BY: fA ger

UL C, PARISI
Assistant United States Attorney
United States Attorney's Office
Western District of New York
138 Delaware Avenue
Buffalo, New York 14202
(716) 843-5700
paul.parisi@usdoj.gov

Dated: 3s, AED Ga

 

~
~“
>
aa

 

f f _ RODNEY O. PERSONIUS
Attorney for Claimant
2100 Main Place Tower
Buffalo, New York 14202
(716) 855-1050
personiusmelber.com
